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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MERRILL PRIMACK,                                        )
on behalf of plaintiff and the classes defined          )
below,                                                  )      14-cv-3257
                                                        )
                       Plaintiff,                       )      Honorable John Z. Lee
                                                        )      Magistrate Judge Jeffrey Cole
               vs.                                      )
                                                        )
REALGY, LLC,                                            )
                                                        )
                       Defendant.                       )

                                    NOTICE OF DISMISSAL

       Plaintiff Merrill Primack hereby dismisses this action without prejudice and without costs

pursuant to Fed.R.Civ.P. 41(a)(1)(A)(i).



                                                 Respectfully submitted,

                                                 s/Francis R. Greene
                                                 Francis R. Greene
Daniel A. Edelman
Cathleen M. Combs
James O. Latturner
Francis R. Greene
EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
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                                CERTIFICATE OF SERVICE

       I, Francis R. Greene, hereby certify that on June 9, 2014, I caused to be filed the forgoing
document with the Clerk of the Court using the CM/ECF System, and caused to be served a true and
accurate copy of such filing via electronic mail on this date upon the following party:

Glenn Duhl
gduhl@siegeloconnor.com


                                                     s/Francis R. Greene
                                                     Francis R. Greene




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